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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

MARCEY CHATMAN,

                   Plaintiff,                 CIVIL ACTION

         v.                                   NO. 1:19-CV-03204-LMM-CCB

AID ATLANTA, INCORPORATED,
and AIDS HEALTHCARE
FOUNDATION (INC.),

                   Defendants.



        DEFENDANTS’ CERTIFICATION OF SERVICE OF DISCOVERY

         In accordance with Fed.R.Civ.P. 5(d)(1) and Local Rule 26.3 of the United

States District Court for the Northern District of Georgia, the undersigned counsel

for Defendants certifies that counsel served the following discovery on Plaintiff by

depositing same in the United States Mail, postage prepaid: Defendants’ First Set

of Requests for Admissions to Plaintiff.




4814-8477-5872.1
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         Dated this 18th day of June, 2020.

                                              KUTAK ROCK LLP


                                              /s/ Gregory R. Crochet
                                              Gregory R. Crochet
                                              Georgia Bar No. 196650
                                              greg.crochet@kutakrock.com
                                              303 Peachtree Street, N.E.
                                              Suite 2750
                                              Atlanta, GA 30308
                                              (404) 222-4600 (Telephone)
                                              (404) 222-4654 (Facsimile)
                                              Attorneys for Defendants




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                                CERTIFICATE OF SERVICE

         The undersigned certifies that a copy of the foregoing DEFENDANTS’

CERTIFICATION OF SERVICE OF DISCOVERY was served on Plaintiff by e-

filing and by placing a copy of same in the United States Mail in an envelope with

adequate postage affixed thereon, properly addressed as follows:


                   Paul Joseph Sharman, Esq.
                   The Sharman Law Firm LLC
                   Suite 100
                   11175 Cicero Drive
                   Alpharetta, GA 30022
                   paul@sharman-law.com

         This the 18th day of June, 2020.


                                                /s/ Gregory R. Crochet
                                                Gregory R. Crochet




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